                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION
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PATRICK MANIACI,
                                                          Case No.: 18-CV-200
               Plaintiff,

v.

THE RECEIVABLE MANAGEMENT
SERVICES CORPORATION, D/B/A RMS,

               Defendant.



        DEFENDANT'S REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS
                    PLAINTIFF'S AMENDED COMPLAINT


                                      INTRODUCTION

       Defendant The Receivables Management Services Corporation, d/b/a RMS ("RMS")

moved to dismiss the current action for failure to state a claim because the language in Exhibit A

to Plaintiff's Amended Complaint complies with the Fair Debt Collection Practices Act

("FDCPA") and is not misleading, confusing, contradictory, or overshadowing to Plaintiff's

rights. (ECF No. 17-1 at p. 2-3.) In response to Defendant RMS's Motion to Dismiss, Plaintiff

Patrick Maniaci ("Maniaci") argues that the validation notice contains language that is

overshadowing but sets forth wild interpretations of how a consumer's right to dispute the debt is

overshadowed. The Seventh Circuit has held that while any letter is subject to ingenious

readings, not all readings support claims under the FDCPA.              There is no reasonable

interpretation of the language in Exhibit A to the Amended Complaint which would cause

confusion or be misleading. Therefore, RMS's Motion to Dismiss should be granted.




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                                              ARGUMENT

I.          THE LANGUAGE IN THE VALIDATION NOTICE DOES NOT OVERSHADOW
            THE CONSUMER'S RIGHTS AND DOES NOT PERMIT A CLAIM UNDER THE
            FDCPA

            A majority of Maniaci's argument is that the language in RMS's letter requesting that the

  claim number be included in communication and that RMS will call or has called the consumer

  contradicts with, overshadows, and confuses the consumer of their rights as set forth in the

  validation notice. (ECF No. 20.) Plaintiff correctly cites to case law for the premise that the

  validation notice is required to be presented to the consumer in a non-confusing and non-

  contradictory manner. (Id. at 13.) Bartlett v. Heibl, 128 F.3d 497, 500 (7th Cir. 1997). Bartlett

  notes that confusing the unsophisticated consumer by overshadowing the validation notice can

  occur when the statement is either (1) logically inconsistent with the required notice or (2)

  obscures the required notice, like cross talk, to make the validation notice hard to understand.

  Bartlett, 128 F.3d at 500.

            Maniaci does not have a valid argument that the request to include the account number

  could be considered cross-talk, making the validation notice hard to understand. Further, there is

     no valid argument that the language regarding RMS calling the consumer to resolve or settle the

     matter, and referencing that the call may have either already occurred or will occur soon, is

     considered cross-talk or makes the validation notice hard to understand. The validation notice is

     on the second page of the letter, is separate and distinct from the language regarding the phone

     call and request to include the account number, is in compliance with the FDCPA, and is

     unequivocal. (ECF No. 17-1.) There is no other reasonable interpretation of the language in the

     validation notice other than that the consumer has the right to dispute the debt, and if they do,

     they may want to include the account number so as to have identifying information on the

     written dispute. See, e.g., McMillan v. Collection Professionals Inc., 455 F.3d 754, 758 (7th Cir.

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2006)(the court need not accept a plaintiff's bizarre, peculiar, or idiosyncratic interpretation of a

collection letter). Accordingly, Maniaci's claims should be dismissed.

       A.       Maniaci's Arguments are "Fantastic Conjecture"

       Throughout Maniaci's response brief, he posits baseless theories about the letter in an

attempt to support his FDCPA claims:

            •   that the letter implies that RMS will not process a dispute without a claim number
            •   that the letter implies that RMS will contact Maniaci within the thirty day
                validation period
            •   that the letter confuses Maniaci to believe that RMS will call even if he disputes
                the debt
            •   that the letter implies that Maniaci can dispute the debt orally, confusing him of
                his rights.

(See ECF No. 20.) However, none of these theories or conjectures have support within the

language or context of the letter. On numerous occasions, the Seventh Circuit has held that

"[a]ny document can be misread. The Act is not violated by a dunning letter that is susceptible of

an ingenious misreading, for then every dunning letter would violate it. The Act protects the

unsophisticated debtor, but not the irrational one." Gammon v. GC Services Limited Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994); Clomon v. Jackson, 988 F.2d 1314, 1319-20 (2d Cir. 1993).

Maniaci has set forth just that: ingenious readings of a simple letter. But, those readings are

irrational and cannot support a claim under the FDCPA.

       A review of the language of the letter as a whole does not support the speculation

propounded by Maniaci. There is nothing in the letter that explicitly states or implies that a

dispute will not be processed without a claim number. (See ECF No. 17-1.) The letter states that

it is "important" to include the claim number, but Maniaci has pointed to nothing to show that the

claim number is obligatory. (Id.) Instead, the letter implies that it is important to help RMS

identify which account is in dispute. As the court stated in Thomollari, "[i]t is quite clear that



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CMRE's request that the consumer reference the account number and statement date in his

response is simply to identify to CMRE which account is being disputed. Thus, it is apparent

from a reading of this letter that 'not even a significant fraction of the population would be

misled by it.'" Thomollari v. CMRE Fin. Servs., No. 17-CV-533, 2017 U.S. Dist. LEXIS 220637,

at *10-11 (E.D. Wis. Aug. 28, 2017).

        The letter does not imply that RMS will call Maniaci within thirty days or after the thirty

day validation period, but instead the language surrounding the "call language" demonstrates that

a call is much more imminent, as it may have already occurred. (See ECF No. 17-1.) The

arbitrary thirty-day time frame was created in Maniaci's conjecture-filled arguments. (ECF No.

20 at p. 3-5, 25.) The letter does not imply that the call will come at some point within thirty

days or even after thirty days. Instead, as Maniaci acknowledges, the language "Should you

receive this letter after a discussion with our representative, we thank you for your cooperation"

is even more imminent. (Id. at p. 25.) Maniaci has not demonstrated how the letter implies that

RMS will call at any time in the thirty day validation period. Instead, the language demonstrates

that RMS will be paying immediate attention to resolve the debt. Maniaci has not stated a claim

for relief.

        Next, there is nothing in the letter to confuse the consumer to believe that RMS will call

Maniaci even if he disputes the debt. The letter is the communication which informs Maniaci of

his validation rights, but cannot be read to include cross talk that would say that RMS will call

Maniaci about the debt, even if disputed. No language implies this conclusion. Further, the letter

does not imply or tell the consumer that they can dispute the debt orally in an effort to confuse

the consumer how to dispute the debt. The debt validation notice in RMS's letter complies with

1692g(a) in its entirety, as Maniaci admits. (ECF No. 20 at p. 5.) Therefore, since the validation



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notice specifically complies with the FDCPA, the letter properly notifies Maniaci how to dispute

the debt and is not hard to understand. See Bartlett, 128 F.3d 497.

       As stated, the Seventh Circuit has explained that despite the fact that all letters can be

susceptible to creative misinterpretation, "fantastic conjecture" does not create a claim under the

FDCPA. See White v. Goodman, 200 F.3d 1016, 1020 (7th Cir. 2000). In White v. Goodman, a

dunning letter included a paragraph that began "The State of Colorado requires that we furnish

Colorado residents with the following information. . . ." and listed rights of Colorado residents to

limit communications from a debt collector. Id. The debtor argued that this language implied that

nonresidents of Colorado did not have similar rights despite the fact that the FDCPA conferred

the same rights on consumers. Id. The court found that this was "fantastic conjecture" and not

deceptive debt collection practices. Id. Here, Maniaci's arguments regarding what the letter

implies are akin to "fantastic conjecture." Maniaci has not demonstrated that a significant

fraction of the population would be misled by the letter, and the claims should be dismissed.

McMillan v. Collection Professionals Inc., 455 F.3d 754, 759 (7th Cir. 2006)(noting that a

determination of whether a statement is false, deceptive or misleading, like a determination as to

whether a statement is confusing under the FDCPA, is a fact-bound determination of how an

unsophisticated consumer would perceive the statement and will not be a violation of 1692g

unless "a significant fraction of the population would be . . . mislead by the letter.").

       B.      Maniaci Failed To Address RMS's Argument That Other Letters Asking The
               Consumer To Call Have Been Deemed Not Overshadowing Of The
               Consumer's Rights

       Notably, Maniaci fails to even address, reconcile, or dispute RMS's argument that phone

calls are allowed during the validation period, and letters that request that the consumer call the

debt collector during the validation period are not overshadowing. (ECF No. 19 at p. 11-12.) See

Zemeckis v. Glob. Credit & Collection Corp., 679 F.3d 632, 636 (7th Cir. 2012)(requests that

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consumer call "now" or "today" did not contradict a right to a thirty-day validation period);

Taylor v. Cavalry Inv., L.L.C., 365 F.3d 572, 575-76 (7th Cir. 2004)(denying an overshadowing

claim where the letter contained, after a sentence that gave a phone number that the debtor could

call "to resolve [the] account," the statement: "Act now to satisfy this debt."); Durkin v. Equifax

Check Servs., Inc., 406 F.3d at 417("a debt collector can bring a lawsuit during the validation

period in an effort to collect a debt, . . . then certainly a debt collector can send follow-up

collection letters (as well as place telephone calls) demanding payment during the validation

period."); Kolganov v. Phillips & Cohen Associates, Ltd., No. CV-02-3710, 2004 U.S. Dist.

LEXIS 7069, 2004 WL 958028, at *4 (E.D.N.Y. Apr. 8, 2004) (The letter's validation notice

stated the procedure to follow to dispute the debt. The statement "it is not in your best interest to

neglect this account any further" did not overshadow the validation notice, nor did the phrase "if

you have any questions, immediately contact our office at the above telephone number" by

demanding immediate contact); Lerner v. Forster, 240 F. Supp. 2d 233, 238 (E.D.N.Y. 2003)("It

does not follow that simply because a collection letter instructs a consumer to contact a debt

collector that the validation notice is necessarily overshadowed or contradicted."); Terran v.

Kaplan, 109 F.3d 1428, 1434 (9th Cir. 1997) (holding that a request for immediate telephone

contact does not overshadow the mandated validation notice).

       Here, it is quite clear that the statement in the letter: "If you have not yet been contacted

by an RMS representative, you will be receiving a call to bring this matter to a resolution"

pertains to settlement of the debt, as with the cases mentioned herein. (ECF No. 17-1 at p. 2.)

Letters that request a consumer to contact the debt collector to resolve a debt is have not been

deemed overshadowing of the validation notice, it follows that a letter that informs the consumer

he will be contacted to resolve the account should also not be overshadowing of the validation



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notice. Therefore, RMS's argument is undisputed, the letter is analogous to the letters in these

call cases, and Maniaci's FDCPA claims should be dismissed.

       C.      The Case Law Cited By Plaintiff Is Overstated or Not Relevant To Claims In
               The Present Action

       Maniaci's lengthy response brief overstates and attempts to mash up case law in an effort

to support his argument that RMS's letter somehow contradicts and overshadows the required

validation notice. One thing is clear after reviewing Maniaci's response brief, Maniaci has failed

to cite a comparable FDCPA case from the 7th Circuit that holds that the language similar to that

in RMS's letter is overshadowing or contradictory of Maniaci's rights. (See ECF No. 20.) Also,

the case law cited by Maniaci is distinguishable and inapplicable. In the interest of brevity, RMS

will address Maniaci's main cases and why they do not support his claims.

               1.     Maniaci's case law regarding the claim number language in the letter
                      does not support his claims

       In RMS's Motion to Dismiss, RMS offered Thomollari as a similar case to the facts at

hand. (ECF No. 19 at p. 5.) Maniaci argues that RMS fails to understand the differences between

this case and Thomollari, but if anything, Maniaci has demonstrated why Thomollari supports

RMS's position. Thomollari v. CMRE Fin. Servs. No. 17-CV-533, 2017 U.S. Dist. 220637; see

also Thomollari v. CMRE Fin. Servs., No. 17-CV-533, 2017 U.S. Dist. LEXIS 178831 (E.D.

Wis. Oct. 27, 2017)(mot. to reconsider affirmed). Maniaci argues that RMS does not simply ask

the consumer to include the claim number, as CMRE did in Thomollari, but requires it. In

Thomollari, in the middle of the required validation, the following language was included: "You

may send your written request to: "CMRE FINANCIAL SERVICES INC, 3075 E IMPERIAL

HWY SUITE 200, BREA, CA 92821, ATTENTION: COMPLIANCE UNIT". Your letter

should refer to the above‐referenced CMRE account number, and statement date." Id. at *2. The

court found that this language "in no way overshadows, contradicts, or dilutes the consumer's

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right to dispute the debt." Id. at *10. In making its decision dismissing the 1692g(a) claims, the

court noted that nothing in the letter puts the consumer in a predicament to forego disputing the

debt because he does not have suitable documentation to dispute a debt, and the consumer is also

not being asked to provide a reason for disputing the debt. Id. The court noted that the account

number, the statement date, and the address to send the dispute were all included within the letter

itself, so the request could not be confusing. Id.

       Here, similarly, the first page of RMS's letter tells the consumer it is important to refer to

the claim number in all communications. (ECF No. 17-1 at p. 2.) While no language implies that

it is mandatory, the claim number is included on the face of the letter and cannot be confusing.

The language does not conflict with the disclosure of the dispute rights. The language does not

make the claim number obligatory and similarly does not overshadow, contradict, or dilute the

consumer's right to dispute a debt.

       Maniaci argues that the current action is also different from Thomollari in that the request

to include account information was found inside the validation notice so there was no way for the

consumer to read the validation notice without knowing the request applied to all dispute letters.

(ECF No. 20 at p. 17.) However, this difference is actually further support for RMS's position

that the validation notice is provided to the consumer clearly and unequivocally without any

language surrounding it to be overshadowing, contradictory, or diluting of their rights. The court

in Thomollari found for the debt collector despite the added language being included within the

validation notice. See Thomollari, No. 17-CV-533. Maniaci argues that Thomollari was not

decided on materiality grounds, but states that:

               a potential materiality issue was clearly central to its reasoning:
               "the letter merely requests that when disputing the debt the
               consumer reference two pieces of information . . . which are found
               on the letter itself." Thomollari, No. 17-cv-533 at 6-7 (emphasis


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               added). Materiality implicitly underpins the Thomollari reasoning:
               since the account number was in the letter itself, requesting that
               information would not burden the consumer. And there was no
               potential for deception: because the request itself was in the
               validation notice, and because the court found that nothing in
               CMRE’s letter implied that CMRE would not process a dispute if
               the consumer did not provide the requested information, there was
               no concern that the consumer might attempt to communicate his
               dispute without providing this information, only to be later
               informed that CMRE avoided processing the dispute because he
               did not provide his account number.

(ECF No. 20 at p. 17-18.)(emphasis in original). Again, this argument supports RMS's position.

The claim number is included within the letter itself. (ECF No. 17-1 at p. 2.) Requesting this

information will not burden the consumer. Since the request for the claim number is not

mandatory, there is no potential for deception or to be misled and there is nothing in RMS's letter

that implies that RMS will not process the dispute if the consumer does not provide the claim

number.

       In support of his overshadowing claim, Maniaci cites to Bowse v. Portfolio Recovery

Assocs., LLC, 218 F. Supp. 3d 745, 751 (N.D. Ill. Nov. 2, 2016) for the position that RMS cannot

require a consumer to include a claim number on the dispute because the consumer has no duty

to streamline the dispute process to make things easy for debt collectors. (ECF No. 20 at p. 15.)

However, Bowse was a not a case about an overshadowing claim under the FDCPA. See Bowse,

generally. Instead, it was case about whether or not a specific letter from an attorney constituted

a dispute of the debt. Bowse, at 751. While the dicta in the opinion recognizes that the FDCPA

does not require a specific recipient for the letters, it does not mention that it is overshadowing of

a consumer's rights to simply request that a claim number, that is included within the letter, be

included in communications. Id. Therefore, Bowse is inapplicable.

       Maniaci next cites to Evans v. Portfolio Recovery Assocs., LLC, Nos. 17-1773, 17-1860,

17-1866, 17-2622, 17-2756, 18-1374, 2018 U.S. App. LEXIS 11372, at *1 (7th Cir. May 2,

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2018) and Gruber v. Creditors' Prot. Serv., 742 F.3d 271, 274 (7th Cir. 2014) for the position

that there are no specific words or documentation required to dispute a debt. (ECF No. 20 at p.

19-20.) Those cases requesting that the consumer include a claim number, which was included

on the letter, is not comparable to requiring "legally precise" or "magic" words to dispute a debt.

The letter here in no way limits a consumer's right to dispute the validity of a debt, and no logical

argument can be made to the contrary.

       Maniaci also cites the dissent in McKinney v. Cadleway Props., Inc., 548 F.3d 496 (7th

Cir. 2008) overruled in part by Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718, 1721,

198 L.Ed.2d 177, 180 (2017)(overruling McKinney regarding defense concerning standing), for

the proposition that a debt collector cannot condition processing disputes on inclusion of specific

account information, and a dispute only needs to state "I dispute the debt." (ECF No. 20 at p. 21.)

However, as stated, Maniaci was not citing the holding of the Seventh Circuit, but instead the

dissent. (Id.) Further, the decision in McKinney actually supports RMS's position. The court

determined that a form that was included with the validation of debt notice letter permitted the

consumer to either confirm the debt or dispute the debt; it did nothing to imply that confirmation

was obligatory. McKinney, 548 F.3d at 504. Similarly, here, there is nothing obligatory about the

request to include the claim number in any dispute.

       Maniaci next cites Sengenberger v. Credit Control Servs., 2010 U.S. Dist. LEXIS 43874,

at *9-10 (N.D. Ill. May 5, 2010) stating that Sengenberger included the exact issue at hand. (ECF

No. 20 at p. 21-22.) However, Maniaci overstates Sengenberger. The issue before the court in

Sengenberger was whether a letter that Sengenberger sent to the debt collector containing a debt

dispute revoked consent to call the consumer under the Telephone Consumer Protection Act.

Sengenberger, at *9. Defendant debt collector argued that there was no revocation of consent



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because the letter did not include the account number or zip code. Id. The court noted that the

defendant did not provide support as to how those facts were relevant to revoke consent and

mentioned that the statute did not include those requirements. Id. The issue was not whether

specific language in a letter was overshadowing of the validation notice. Therefore,

Sengenberger does not apply to the current action.

       Finally, Maniaci cites to Washington v. Convergent Outsourcing, Inc., 2017 U.S. Dist.

LEXIS 41814, at *6-7 (N.D. Ill. Mar. 23, 2017) for the position that if RMS cannot identify

which account the consumer disputes, the proper course is to mark all those debts as disputed

and provide verification for each one. (ECF No. 20 at p. 22.) However, Maniaci overstates the

holding in Convergent Outsourcing. Convergent Outsourcing, Inc., 2017 U.S. Dist. LEXIS

41814. In Convergent Outsourcing, the consumer had an unpaid balance of $1,001 on her

account. Id. at *1. It was reported to the credit bureaus. Id. Her attorneys sent a letter disputing

the debt. Id. at *2. Shortly thereafter, the company changed its policy and reduced her unpaid

balance for equipment charges, bringing the balance down to $321. Id. at *3. Convergent

Outsourcing argued that it had no reason to know whether the first amount of $1,001 was

disputed or whether the more recent $321 was disputed. Id. at *6. The court determined that the

consumer can require the debt collector to verify the existence of the debt before collecting. Id. at

*7. The court did not go so far to say, as Maniaci argues, that the debt collector should mark all

debts and accounts disputed and provide verification for each one, but instead the existence of

the debt. Id. Further explanation demonstrates that this holding does not sanction a debt collector

for requesting a claim number to be included in communications. Convergent Outsourcing does

not apply to the claims at hand, and Maniaci has not provided case law to support his claims.

               2.      Maniaci's case law regarding the settlement call language in the letter
                       does not support his claims


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       In the last portion of Maniaci's lengthy response brief, Maniaci argues that RMS fails to

address the argument that the debt collector may overshadow the validation notice by

encouraging the debt collector to dispute the debt orally even if it does not expressly say it will

verify the debt upon oral dispute. (ECF No. 20 at p. 26.) Maniaci cites to Flowers v. Accelerated

Bureau of Collections, 1997 U.S. Dist. LEXIS 3354, at *17-20 (N.D. Ill. Mar. 13, 1997),

modified on reconsideration, 1997 U.S. Dist LEXIS 6070 (N.D. Ill. Apr. 29, 1997) to support

this position. (ECF No. 20 at p. 26.) However, Flowers is distinguishable and a subsequent case

applying Flowers has held that a letter that requests that the debtor contact the debt collector

"without further delay" does not induce a waiver of section 1692g rights. See Vasquez v. Gertler

& Gertler, Ltd., 987 F. Supp. 652, 654 (N.D. Ill. 1997).

       In Vasquez, the court denied the plaintiff's claims under § 1692g, as the letter was not

overshadowing. The Vasquez court distinguished the factual scenario in Flowers, v. Accelerated

Bureau of Collections. See Vasquez, at 658. The Vasquez court noted that in Flowers, after

sending the validation notice in its first letter, the debt collector sent a second letter, without the

validation notice and demanded the debtor phone or write the collection agency immediately. Id.

The court in Flowers determined that the second letter implied that Flowers could dispute her

debt by telephone and contradicted the first validation notice letter. Id. The letter in Vasquez was

not overshadowing as it merely requested that the consumer pay "immediate attention" to the

outstanding debt. Id. compare to Seplak by Seplak v. IMBS, Inc., No. 98 C 5973, 1999 U.S. Dist.

LEXIS 2106, at *17 (N.D. Ill. Feb. 22, 1999)(where court found the language "if you feel you do

not owe this amount, please call," an invitation to dispute the debt orally, confusing the

unsophisticated consumer).




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             Here, the factual scenario and language in RMS's letter is more akin to Vasquez and not

  even closely related to the facts in Flowers, and even more far afield from Seplak by Seplak.

  RMS indicates that a phone call has already occurred or is imminent to attempt to resolve or

  settle the account, implying that immediate attention will be given to the outstanding debt.

  Further, even Maniaci admits that the content of the validation notice is in proper form as

  required under § 1692g(a). (ECF No. 20 at p. 5.) Therefore, there is nothing in the letter that is

  overshadowing of Maniaci's right to dispute the debt. He is clearly informed of how to go about

  it and nothing implies or confuses that he should call to dispute the debt.

             Because Maniaci has failed to demonstrate that a significant fraction of the population

  would be mislead by the letter, Maniaci's claims under 1692g(a)(3)-(5), 1692g(b), 1692e, and

      1692e(10) should be dismissed. McMillan v. Collection Professionals Inc., 455 F.3d 754, 759

      (7th Cir. 2006)(there cannot be a violation of 1692g unless "a significant fraction of the

      population would be . . . mislead by the letter.").

II.          MANIACI'S WISCONSIN CONSUMER ACT CLAIM SHOULD BE DISMISSED

             Maniaci fails to address RMS's argument that the Wisconsin Consumer Act claims are

  duplicative of the FDCPA claims. Accordingly, since the FDCPA claims should be dismissed, so

  too should the WCA claims.

                                                CONCLUSION

             RMS is entitled to dismissal with prejudice pursuant to Rule 12(b)(6) of Plaintiff's

  Complaint because Plaintiff fails to state any claim upon which relief can be granted under the

  FDCPA.




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Dated this 13th day of June, 2018.
                                       /s/ Alyssa A. Johnson
                                       David M. Schultz
                                       IL Bar No. 6197596
                                       Alyssa A. Johnson
                                       State Bar No. 1086085
                                       Attorneys for Defendant THE RECEIVABLE
                                       MANAGEMENT SERVICES
                                       CORPORATION, D/B/A RMS
                                       HINSHAW & CULBERTSON LLP
                                       100 E. Wisconsin Avenue, Suite 2600
                                       Milwaukee, WI 53202
                                       Phone No. 414-276-6464
                                       Fax No. 414-276-9220
                                       E-mail Address(es):
                                       dschultz@hinshawlaw.com
                                       ajohnson@hinshawlaw.com




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